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            2      1477 Drew Avenue, Suite 106
                   Davis, California 95618
            3      Telephone: 530.759.0700
                   Facsimile: 530.759.0800
            4
                 Attorney for Defendant
            5    LAJAMAAL BRUMFIELD
            6

            7                                  IN THE UNITED STATES DISTRICT COURT
            8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
            9                                              SACRAMENTO DIVISION
            10

            11   UNITED STATES OF AMERICA,                               ) Case No. CRS 10-00097 JAM
                                                                         )
            12                                    Plaintiff,             )
                                                                         ) STIPULATION AND ORDER TO
            13            vs.                                            ) CONTINUE SENTENCING
                                                                         )
            14   LAJAMAAL BRUMFIELD,                                     )
                                  Defendant.                             )
            15                                                           )
            16            It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
            17   AMERICA, through its counsel of record, Jared Dolan, Assistant United States Attorney, and
            18   Defendant, LAJAMAAL BRUMFIELD, through his counsel of record, Joseph J. Wiseman, and
            19   without objection from the United States Probation Officer assigned to this case, that the
            20   sentencing of Defendant now scheduled for December 7, 2010 at 9:30 a.m., be rescheduled to
            21   March 8, 2011 at 9:30 a.m.
            22             Pursuant to this stipulation, the Proposed Presentence Report shall be disclosed to
            23   Counsel no later than January 25, 2011, Defendant’s Written Objections shall be due February 8,
            24   2011, Pre-Sentence Report shall be filed with the Court February 15, 2011, Defendant’s Motion
            25   to Correct the Presentence Report shall be due on February 22, 2011, and Plaintiff’s
            26   Opposition/Reply to said motion shall be due on March 1, 2011.
            27            The parties are requesting this continuance to allow Defendant’s new counsel time to
            28   become familiar with the case and because Defendant’s counsel will be in trial in United States
                 v. Keehn, in December. The trial is expected to last for three weeks.
                                                                         1
                 Stipulation And Proposed Order To Continue Sentencing                          Case No. CRS 10-00097 JAM




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                    Case 2:10-cr-00097-JAM Document 78 Filed 11/02/10 Page 2 of 2


            1    Dated: November 1, 2010                                 Respectfully submitted,
            2                                                            JOSEPH J. WISEMAN, P.C.
            3                                                            By:    /s/ Joseph J. Wiseman
            4                                                                   JOSEPH J. WISEMAN
                                                                                Attorney for Defendant
            5
                                                                                LAJAMAAL BRUMFIELD
            6

            7    Dated: November 1, 2010                                 BENJAMIN B. WAGNER
                                                                         United States Attorney
            8

            9

            10
                                                                         By:     /s/ Jared Dolan
                                                                                JARED DOLAN, AUSA
            11                                                                  Attorney for Plaintiff
                                                                                UNITED STATES OF AMERICA
            12

            13

            14

            15                                                           ORDER
            16
                          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
            17
                 sentencing of Defendant LAJAMAAL BRUMFIELD in the above-captioned case shall be
            18
                 continued to March 8, 2011 at 9:30 a.m.
            19
                 Dated: November 1, 2010
            20

            21

            22                                                                   /s/ John A. Mendez_______________
                                                                                JOHN A. MENDEZ
            23                                                                  UNITED STATES DISTRICT JUDGE
            24

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            26

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                 Stipulation And Proposed Order To Continue Sentencing                                  Case No. CRS 10-00097 JAM




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